        Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 1 of 32




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

TIFFANY L. HALO,                             :
     PLAINTIFF,                              :
                                             :      CIVIL ACTION NO.:
                                             :      3:10-cv-1949 (VLB)
                                             :
      v.                                     :
                                             :
YALE HEALTH PLAN,                            :
     DEFENDANT.                              :      MARCH 8, 2012


     MEMORANDUM OF DECISION GRANTING DEFENDANT’S MOTION FOR
         JUDGMENT ON THE ADMINISTRATIVE RECORD [DKT. #14]


      The Plaintiff, Tiffany L. Halo (“Halo”), proceeding pro se, brings this action

against Defendant Yale Health Plan (“YHP”), the student insurance provider at

Yale University, under the Employee Retirement Income Security Act of 1974

(“ERISA”). Plaintiff principally alleges that Defendant violated 29 C.F.R.

§2560.530-1’s provisions regarding the timing of notification of benefit

determinations. Her single count complaint can also be construed to allege a

second claim for breach of contract under ERISA. Plaintiff alleges that YHP acted

in an arbitrary and capricious manner in denying her claims for coverage of

certain out-of-network services. Defendant has moved for judgment on the

administrative record to affirm YHP’s coverage decisions. For the reasons stated

hereinafter, the Defendant’s motion for judgment on the administrative record is

granted as to both claims.




                                                                                       1
        Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 2 of 32




      Facts

      Halo was a graduate student at Yale University who was enrolled in the Yale

Health Plan in 2008. As an enrollee, Halo was entitled to health benefits under the

plan as described therein. The parties agreed that the plan administration was

governed by federal law. The issues at hand arose out of a series of incidents

which began on May 31, 2008 when Halo developed a visual disturbance in her

left eye. She went to the Yale University Health Services Urgent Care Department

and was referred to Yale New Haven Hospital for an inpatient consultation. [Dkt.

#14, Def.’s Mem., Ex. B, p. 2]. She was diagnosed with a retinal detachment and

surgery on her left eye was performed on June 1, 2008. [Id. at 4-7]. Follow up

appointments were scheduled for June 2 and 9, 2008 with Dr. Huang at Yale New

Haven hospital. [Id. at 8-12]. On June 11, 2008, Halo was referred for a second

opinion with Dr. Liggett at New England Retina Associates. [Id. at 13]. It was

determined that her retina had not reattached and a vitrectomy was performed on

June 13, 2008. [Id. at 14]. She returned the next day for a follow up and was

given a cell phone number to call over the weekend if there were any further

complications. [Id. at 15-16]. The following Monday, June 16, 2008, Halo returned

again due to severe pain in her left eye and was seen by Dr. Ligette’s associate Dr.

Haffner. Dr. Haffner found that the pain was caused by an increase in intra-ocular

pressure and he performed a partial aspiration to reduce it. [Id. at 17-19].

      On June 16, 2008, after the visit with Dr. Haffner, Halo’s mother made a

request by telephone to YHP for a second opinion on Halo’s condition. Within 24



                                                                                   2
        Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 3 of 32




hours, Dr. Forster, Chief of Ophthalmology at Yale University Health Services,

called and approved the referral for a second opinion with Dr. D’Amico of Weill

Cornell Ophthalmology Associates (“Weill”) who was an out-of-network doctor.

YHP expressly informed Halo by letter dated June 17, 2008 that any additional

services beyond her visit for a second opinion must be further approved before

they would be covered under the plan. [Dkt. #14, Def.’s Mem., p. 3 and Ex. C.].

       On June 17, 2008, Dr. D’Amico saw Halo and determined that immediate

treatment was necessary. Halo received treatment the same day. The Weill

treatment record of Halo’s June 17, 2008 visit states “Patient will move to her

parents in N.J. and would like to transfer her care to WCMC.” [Dkt. # 14, Ex.B, p.

23].   Halo went to see Dr. D’Amico the next day for a follow up. [Dkt. #14, Def.’s

Mem., Ex. B, p. 20-24]. Halo alleges in her Memorandum in Opposition to

Defendant’s Motion for Judgment that her parents called Vicki Eisler of Member

Services at YHP on June 17, 2008 to inform her that Dr. D’Amico had performed

an emergency treatment. Halo alleges that Eisler told her parents that the

services provided by Dr. D’Amico were approved as emergency treatment. Halo

also alleges that her parents understood from Eisler that all treatment with Dr.

D’Amico until June 30, 2008 would also be approved and covered by YHP. [Dkt.

#20, Pl.’s Mem., p. 9]. Defendant disagrees that they had authorized all services

provided by Dr. D’Amico until June 30, 2008 and points out that the initial

authorization was to obtain a second opinion anytime until June 30, 2008. [Dkt.

#14, Def. Mem., p. 4 n.3]. The authorization letter, dated June 17, 2008, clearly




                                                                                      3
          Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 4 of 32




states that YHP’s approval was only for a second opinion. [Dkt. #14, Def.’s Mem.,

Ex. C].

      During this time between June 17 and August 6, Halo alleges that she

called and left numerous voicemails for YHP seeking to confirm that coverage

beyond a second opinion for emergency care had been approved as Eisler had

previously allegedly indicated to her parents. [Dkt. #20, Pl’s. Mem., pp. 9, 11].

Halo alleges that Shaun Peltor, the Billing Manager of Cornell Weill

Ophthalmology, which is not affiliated with YHP, allegedly confirmed to her orally

on June 19, 2008 that coverage had been extended by YHP until June 30, 2008.

[Id. at 9]. However since Peltor is not an employee of YHP, Plaintiff cannot rely on

her alleged conversation with Peltor to prove that YHP had approved covered for

Dr. D’Amico’s services.

      The bills for the visits on June 17 and 18, 2008, were received by the plan’s

claims department on July 8, 2008 as Halo’s claim for services rendered. The

claims were denied by YHP on July 30, 2008 in a form entitled “Explanation of

Benefits” on the basis that the “service [was] not authorized.” [Dkt. #14, Def.’s

Mem., Ex. E]. Halo returned to Dr. D’Amico for further visits on June 20, June 26

and August 5, 2008. [Dkt. #14, Def.’s Mem., Ex. B, p. 25-38]. On the August 5 visit,

Dr. D’Amico recommended further surgery to be performed eight days later on

August 13, 2008. [Id. at 35-38].

      Halo alleges in her Memorandum in Opposition to Defendant’s Motion For

Judgment that Eisler finally returned her calls on August 6, 2008 and indicated

that there was no official determination on whether YHP would cover any of the



                                                                                     4
        Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 5 of 32




services provided by Dr. D’Amico beyond the second opinion which was contrary

to Halo’s parents’ understanding from their conversation with Eisler on June 17,

2008. [Dkt. #20, Pl.’s Mem., p. 12]. Eisler advised Halo to submit an appeal for the

claims that had already been denied.

      On June 20, 2008, June 26, 2008, and August 5, 2008, Halo received medical

care at Weill from Dr. D’Amico. [Dkt. #14, Ex. B]. On the treatment notes for these

and all subsequent visits the section entitled “Referring Physician Copy” was left

blank. [Id.]. The June 20, 2008 treatment note indicated Halo was to “follow up in

1 week” with Dr. D’Amico of Weill. [Id.]. It also says “Patient voices

understanding and agreement to plan as outlined.” [Id.]. Dr. D’Amico’s June 26,

2008 treatment notes states “return in two weeks (around 7/10/09).” [Id.]. The

August 5, 2008 treatment notes indicate that Dr. D’Amico instructed Halo to

“return in 7 days.” [Id.]. On August 6, 2008 Halo completed a pre-operative

questionnaire for a surgical procedure scheduled for August 13, 2008. [Id.].

      On August 7, 2008, Halo notified YHP about the upcoming surgery

scheduled for August 13, 2008 and in the same letter, appealed the decision to

deny coverage for the June 17 and June 18, 2008 visits to Dr. D’Amico. [Dkt. #14,

Def.’s Mem., Ex. F]. In this letter, Halo indicated that she was displeased with the

treatment she had received at Yale and with Dr. Liggett. She wrote that during her

June 17, 2008 visit, Dr. D’Amico “immediately noticed three problems with the

surgery performed by Dr. Ligett. First, Tiffany allergic to Vycril sutures; Dr.

D’Amico removed sutures, and within 24 hours, redness and irritation in the left

eye had decreased by more than fifty percent. Second, Dr. D’Amico was



                                                                                    5
        Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 6 of 32




concerned that Tiffany may have an infection; multiple cultures were taken and

allowed to grow for 48-72 hours. Third, Tiffany’s eye pressure was still greatly

elevated and as a consequence Dr. D’Amico aspirated both the anterior and

posterior portions of the left eye, removing > 0.5cc gas. Tiffany felt almost

immediate relief. Dr. D’Amico also prescribed oral antibiotics for possible

infection.” [Id.].

      On August 11, 2008, Dr. Forster called Halo to advise her to stay in network

in order for the plan to cover her medical expenses and indicated that YHP would

not pre-authorize the August 13 scheduled surgery. [Dkt. #14, Def.’s Mem. p. 6-7

and Ex. H]. Halo elected to undergo surgery on August 13, 2008 with Dr. D’Amico

at New York Presbyterian Hospital prior to receiving authorization for the out-of-

network service from YHP. [Dkt. #14, Def.’s Mem., Ex. B, p. 43-45]. Dr. D’Amico

diagnosed Halo with recurrent retinal detachment for both preoperative and post

operative. [Dkt. #14, Ex. B].

      On August 15, 2008, YHP responded to Halo’s appeal in a letter in which it

affirmed its decision to deny her claims. YHP stated that it would only cover the

portion of the June 17 visit to Dr. D’Amico that it had pre-authorized for a second

opinion but would not cover the additional services provided during the June 17,

2008 visit and the June 18, 2008 visit. YHP indicated in the letter that “[y]ou

elected to leave the New Haven area and requested coverage for a second

opinion with a physician, Dr. D’Amico, in New York. Coverage for non-emergency

out of network care is not part of your health care benefit with Yale Health Plan,

but we routinely do allow coverage for consultation only with an out-of-network



                                                                                      6
        Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 7 of 32




clinician for the purposes of obtaining a second opinion. Your request for such a

consultation was approved. The services provided by Dr. D’Amico went beyond

consultation, resulting in charges that were not covered by the original request.”

[Dkt. #14, Def.’s Mem., Ex. J] [emphasis in the original]. In addition, YHP indicated

in the letter that it had provided “clear and explicit” communication to Halo that

further visits and the follow-up surgery scheduled for August 13, 2008 with Dr.

D’Amico would be denied and that Halo had been informed of the availability of

in-network retinal specialists to provide her with any needed follow up care. [Id.].

      On September 8, 2008, Halo appealed seeking reimbursement for the

services rendered by Dr. D’Amico on June 17, 18 and August 13. [Dkt. #14, Def.’s

Mem., Ex. K]. In the letter, Halo indicated that on June 17, 2008 Dr. D’Amico

“removed Vicryl sutures (because she had an allergic reaction to them)” and

opined that Dr. D’Amico “aspirated both the anterior and posterior chambers of

her eye in order to relieve the still-elevated pressure and pain, took bacterial and

fungal cultures because infection was suspected,” and stated that he “started

her on an antibiotic regimen.” She further stated that “improvement of her eye

over the next 24 hours was dramatic: the pain subsided, the pressure decreased

to a medically acceptable level, and the scleral redness and swelling reduced

significantly. These procedures were medically necessary to protect the integrity

of her eye from infection and (further) permanent damage; there were ignored by

her unavailable surgeon, Dr. Liggett, and denied by covering ophthalmologist Dr.

Haffner.” [Id.]. Halo also argues in the letter that the August 13 surgery with Dr.

D’Amico was “medically necessary: the surgery entailed removal of the lens



                                                                                       7
          Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 8 of 32




because of a cataract that had rapidly developed from the perfluoropropane gas,

removal of that gas, which still occupied between 33-50% of the volume of her

eye after 8 weeks of recovery performed by Dr. Liggett, laser therapy to reattach

the retina, and installation of a silicone oil bubble to stabilize recovery.” Lastly

Halo states that the “severity of her situation makes this claim a legitimate one.”

[Id.].

         Halo was seen at Weil on September 10, 2008 on which date Dr. D’Amico

scheduled a “RFD repair next Wednesday 9/17/09.” [Dkt. #14, Ex. B]. Her final

follow-up visit to Dr. D’Amico was on October 3, 2008. [Id.].

         On September 18, 2008, YHP sent a letter to Halo indicating that the YHP

Claims Committee met on September 9, 2008 to review the appeal and had

approved payment in full for Halo’s visits to Dr. D’Amico on June 17 and 18, 2008,

but upheld its decision to deny payment for the surgery performed on August 13,

2008. [Dkt. #14, Def.’s Mem., Ex. L].

         On September 29, 2008, Halo requested another appeal of the decision to

deny reimbursement for the August 13, 2008 surgery. [Dkt. #14, Def.’s Mem., Ex.

M]. In the letter, Halo simply requests for the “Committee to revisit Dr. D’Amico’s

surgery of August 13, 2008. [Id.]. On September 18, 2008, YHP sent a letter to

Halo indicating that on November 4, 2008, the YHP Claims Committee reviewed

her appeal and voted unanimously to deny payment for the August 13, 2008

surgery. [Dkt. #14, Def.’s Mem., Ex. N].

         On September 10, 2008, Halo developed additional eye symptoms and

again went to Weill Cornell Ophthalmology where she was diagnosed with a



                                                                                       8
        Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 9 of 32




recurrent retinal detachment. [Dkt. #14, Def.’s Mem., Ex. B, p. 46-48]. Surgery

was scheduled for September 17, 2008 and Halo underwent the operation at New

York Presbyterian Hospital. [Id. at 53]. On October 3, 2008, Halo filed a claim for

the services rendered on September 10 and the September 17 surgery. On

November 11, 2008, YHP denied her claims for these additional services again in a

form entitled “Explanation of Benefits” on the basis that “service [was] not

authorized.” [Dkt. #14, Def.’s Mem., Ex. P and Ex. Q]. The November 11, 2008

form also shows a denial of claims for charges incurred on Plaintiff’s June 20 and

26, 2008 visits to Dr. D’Amico. [Dkt. #14, Def.’s Mem., Ex. Q]. On December 13,

2010, Plaintiff filed the instant action in federal court.

      The provisions of the health plan in which Halo was enrolled and which

define the coverage afforded are explained fully in the YHP Student Handbook.

See [Dkt. #14, Def.’s Mem., Ex. A]. The plan provides that “[i]f in the course of

medical evaluation and treatment, a member requires outpatient services not

provided at YUHS, the member’s primary care clinician may make a referral to an

approved specialist in the YHP health care network outside YUHS. Prior

authorization for coverage of these services must be obtained from the YHP Care

Coordination Department. A referral from your primary care clinician is

necessary but does not constitute authorization for coverage. Authorization for

coverage must be obtained from the Care Coordination Department. Approved

claims are covered at 100%. Please note that YHP will not pay for the services of

non-YHP network clinician unless those services, including all testing and

treatment ordered by the non-network clinician, are authorized in advance by the



                                                                                      9
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 10 of 32




YHP Care Coordination Department. This is true even if the member was referred

for services by a YHP network clinician, except in cases of emergencies.” [Id.].

      The plan also provides that “[i]n general, outpatient care received out of

YHP network of health care clinicians and facilities is not covered under YHP

Hospitalization/Specialty Coverage. The two exceptions to this are outpatient

care for an emergency or urgent condition … and care that has been arranged in

advance by a YHP clinician and approved by the Care Coordination Department.

In special circumstances when a medical condition or therapy may require some

out-of-network case, a YHP clinician will case manage your condition, which

means that the clinician will coordinate in advance medically necessary care out

of network and assist in arranging for the pre-authorization of this care. Case

managed care is covered out-of-network only when care is coordinated in

advance by a YHP clinician and authorized in advance by the Care Coordination

Department.” [Id.].

      Under the plan, “[e]mergency care and pre-authorized follow-up care for

emergency conditions are covered at 100% regardless of location. An emergency

condition is defined as a major acute medical problem or major acute trauma that

requires immediate medical attention or a condition that could lead to serious

harm or death if care is not received or is delayed.” Plan beneficiaries are

instructed to “contact YHP Care Coordination Department within 38 hours (or 2

business days) of receiving emergency outpatient treatment or being admitted to

an emergency facilities. The Care Coordination Department will (1) notify YHP

clinical staff of your condition so that they can coordinate your care as



                                                                                   10
        Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 11 of 32




appropriate or make any further arrangement for your care and (2) pre-authorize

any necessary follow-up care. Follow-up care that is not pre-authorized may be

denied. If YHP deems it appropriate, YHP may arrange for and cover the

expenses of transporting you to a YHP-approved facility to receive follow-up care.

If the severity of your medical condition prevents you or your representative from

contacting YHP Care Coordination Department within 48 hours, you will still be

covered for the emergency, but you should contact Care Coordination as soon as

possible.” [Id.]. The Plan further provides that “[i]f, in the judgment of YHP, the

illness or injury does not meet the plan definition of an emergency or urgent

condition, coverage will be denied. This includes all elective admissions or

treatments. Coverage will also be denied for condition that could have been

treated at YUHS but were not while the student or enrolled dependent was in

area.” [Id.].

       Under the plan, “[u]rgent care is covered at 100% when it is received at the

Urgent Care Department at YUHS. An urgent condition is defined as he sudden

and unexpected onset of an acute medical problem or trauma that requires

immediate medical attention. Care for nonacute phases of chronic conditions,

maintenance care, and routine care are not considered urgent. If you are away

from New Haven County you are considered out of area and you may receive

urgent care at any medical facility and receive the same coverage as for

emergency care, including pre-authorized short-term follow-up care. In other

words, no distinction is made in coverage is made in coverage between urgent

care and emergency care received out of the area; the distinction between urgent



                                                                                      11
          Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 12 of 32




care and emergency care applies only when you are within New Haven County.

You should contact the YHP Care Coordination Department within 48 hours (or 2

business days) of any care received out of area for an urgent condition to ensure

that YHP clinical staff are aware of your condition and to request the Care

Coordination Department to pre-authorize follow-up care. Follow-up care that is

not pre-authorized may be denied. If, in the judgment of YHP, the illness or injury

does not meet the plan definition of an emergency or urgent condition, coverage

will be denied. This includes all elective admissions or treatments. Coverage will

also be denied for conditions that could have been treated at YUHS but were not

while the student or enrolled dependent was in area.” [Id.].

         Lastly, the Plan provides that “YHP may adopt reasonable policies,

procedures, rules and interpretations to promote the orderly and efficient

administration of the policies and coverage plans described in the student

handbook.” [Id.].

         The administration of the plan is also subject to ERISA and the regulations

promulgated thereunder. 1 29 C.F.R. §2560.530-1 “sets forth minimum

requirements for employee benefit plan procedures pertaining to claims for

benefits by participants and beneficiaries.” 29 C.F.R. §2560.530-1(f)(1). It provides

that in general “if a claim is wholly or partially denied, the plan administrator shall

notify the claimant … of the plan's adverse benefit determination within a



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    The plan expressly indicates that “[p]articipants and beneficiaries in the Yale
     Health Plan are entitled to certain rights and protections under the Employee
     Retirement Income Security Act of 1974 (ERISA)” and that “[i]f a claim for
     coverage is denied or ignored, in whole or in part, a participant may file suit in
     state or federal court.” [Dkt. #14, Ex. A].
                                                                                      12
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 13 of 32




reasonable period of time, but not later than 90 days after receipt of the claim by

the plan.” 29 C.F.R. §2560.530-1(f)(1). In connection with urgent care claims, “the

plan administrator shall notify the claimant of the plan's benefit determination

(whether adverse or not) as soon as possible, taking into account the medical

exigencies, but not later than 72 hours after receipt of the claim by the plan,

unless the claimant fails to provide sufficient information to determine whether,

or to what extent, benefits are covered or payable under the plan. In the case of

such a failure, the plan administrator shall notify the claimant as soon as

possible, but not later than 24 hours after receipt of the claim by the plan, of the

specific information necessary to complete the claim. The claimant shall be

afforded a reasonable amount of time, taking into account the circumstances, but

not less than 48 hours, to provide the specified information.” 29 C.F.R.

§2560.530-1(f)(2)(i).

      Under 29 C.F.R. §2560.530-1(f)(iii) in connection with pre-service claims,

“the plan administrator shall notify the claimant of the plan's benefit

determination (whether adverse or not) within a reasonable period of time

appropriate to the medical circumstances, but not later than 15 days after receipt

of the claim by the plan. This period may be extended one time by the plan for up

to 15 days, provided that the plan administrator both determines that such an

extension is necessary due to matters beyond the control of the plan and notifies

the claimant, prior to the expiration of the initial 15–day period, of the

circumstances requiring the extension of time and the date by which the plan

expects to render a decision.” 29 C.F.R. §2560.530-1(f)(iii)(A). In connection with



                                                                                       13
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 14 of 32




post-service claims, “the plan administrator shall notify the claimant, in

accordance with paragraph (g) of this section, of the plan's adverse benefit

determination within a reasonable period of time, but not later than 30 days after

receipt of the claim. This period may be extended one time by the plan for up to

15 days, provided that the plan administrator both determines that such an

extension is necessary due to matters beyond the control of the plan and notifies

the claimant, prior to the expiration of the initial 30–day period, of the

circumstances requiring the extension of time and the date by which the plan

expects to render a decision.” 29 C.F.R. §2560.530-1(f)(iii)(B).

      Under 29 C.F.R. §2560.530-1(g), the administrator is required to provide a

written or electronic notification of any adverse benefit determination and that the

notification shall set forth “in a manner calculated to be understood by the

claimant (i) the specific reason or reasons for the adverse determination [and] (ii)

Reference to the specific plan provisions on which the determination is based.”

Id. In addition, 29 C.F.R. §2560.530-1(h) provides that the administrator shall

provide a “full and fair” review on an appeal of adverse benefit determinations

that “takes into account all comments, documents, records, and other information

submitted by the claimant relating to the claim.” Lastly under 29 C.F.R.

§2560.530-1(j), the administrator shall provide the claimant with written or

electronic notification of a plan’s benefit determination on appeal that shall set

forth “in a manner calculated to be understood by the claimant (i) the specific

reason or reasons for the adverse determination [and] (ii) Reference to the

specific plan provisions on which the determination is based.”



                                                                                     14
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 15 of 32




      Legal Standard

      While a motion for judgment on the administrative record is a motion that

“does not appear to be authorized in the Federal Rules of Civil Procedure,” courts

treat such motions as motions for summary judgment. Muller v. First Unum Life

Ins. Co., 341 F.3d 119, 124 (2d. Cir. 2003); see also Guglielmi v. Northwestern

Mutual Life Ins. Co., No. 06-CV-3431, 2007 WL 1975480, at *3 (S.D.N.Y. July 6,

2007); Chitou v. Unum Provident Corp., No. 05-CV-8119, 2007 WL 1988406, at *3

(S.D.N.Y. July 6, 2007); Pava v. Hartford Life and Accident Ins. Co., No. 03-CV-

2609, 2005 WL 2039192, at *6 (E.D.N.Y. August 24, 2005); Perezaj v. Bldg. Serv.

32B-J Pension Fund, No. CV-04-3768, 2005 WL 1993392 at *4 (E.D.N.Y. Aug.17,

2005); Katzenberg v. First Fortis Life Ins. Co., No. 05-CV-1146, 2007 WL 1541468,

at *14 (E.D.N.Y. May 25, 2007); Charles v. First Unum Life Ins. Co., No. 02-CV-

0748E, 2004 WL 963907, at *1 (W.D.N.Y. March 26, 2004).

      Summary judgment should be granted “if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” Fed. R. Civ. P. 56(a). The moving party bears the burden of

proving that no factual issues exist. Vivenzio v. City of Syracuse, 611 F.3d 98, 106

(2d Cir. 2010). “In determining whether that burden has been met, the court is

required to resolve all ambiguities and credit all factual inferences that could be

drawn in favor of the party against whom summary judgment is sought.” Id.,

(citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986); Matsushita

Electric Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)). “If there is any

evidence in the record that could reasonably support a jury's verdict for the non-



                                                                                      15
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 16 of 32




moving party, summary judgment must be denied.” Am. Home Assurance Co. v.

Hapag Lloyd Container Linie, GmbH, 446 F.3d 313, 315-16 (2d Cir. 2006) (internal

quotation marks and citation omitted).

      ERISA jurisprudence determines the standard and scope of review in

connection with a challenge to a plan’s denial of benefits. Gannon v. Aetna Life

Ins. Co., 2007 WL 2844869 at *6 (S.D.N.Y. 2007). “ERISA does not set out the

applicable standard of review for actions challenging benefit eligibility

determinations.” Zuckerbrod v. Phoenix Mut. Life Ins. Co., 78 F.3d 46, 49 (2d Cir.

1996). However, after analyzing the legislative history of ERISA, the Supreme

Court has held that a denial of benefits challenge is to be reviewed de novo

unless the benefit plan gives the administrator discretionary authority to

determine eligibility. Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 115

(1989); see also O’Shea v. First Manhattan Co. Thrift Plan & Trust, 55 F.3d 109,

111-12 (2d. Cir. 1995); Murphy v. IBM Corp., 23 F.3d 719, 721 (2d Cir. 1994) (per

curiam), cert. denied, 513 U.S. 876 (1994); Miles v. New York State Teamsters

Conference Pension & Retirement Fund Employee Pension Benefit Plan, 698 F.2d

593, 599 (2d Cir. 1983), cert. denied, 464 U.S. 829 (1983).

      In order to determine if a plan confers discretionary authority on its

administrator(s), the Second Circuit has held that discretionary authority can be

granted without specific trigger words such as “discretion” or “deference,” as

long as the benefit plan’s language is clear. Nichols v. Prudential Ins. Co. of

America, 406 F.3d 98, 108 (2d Cir. 2005). In general, objective standards do not

grant discretion while subjective standards do. The Second Circuit has



                                                                                    16
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 17 of 32




instructed that subjective phrases such as “resolve all disputes and ambiguities”

or “in our judgment” clearly confer discretionary authority. Id.; see also Krauss

v. Oxford Health Plans, Inc., 517 F.3d 614, 622-23 (2d Cir. 2008) (finding that terms

such as “may adopt reasonable policies, procedures, rules, and interpretations”

and “determine[s] to be the reasonable charge” confer discretionary authority).

      However, the Second Circuit has explained that a requirement to “submit

satisfactory proof of Total Disability” is ambiguous and does not clearly confer

discretionary authority. Kinstler v. First Reliance Standard Life Ins. Co., 181 F.3d

243, 251-52 (2d Cir. 1999). The Second Circuit explained that such a phrase is

ambiguous because it is unclear whether the claimant must submit to the

administrator satisfactory proof which would imply an objective standard of

“satisfactory proof,” or the claimant must submit proof that is satisfactory to the

administrator which would imply a subjective standard of “satisfactory proof.” Id.

It is the administrator’s burden to prove that discretionary authority has been

granted. Id. at 249.

      In this case, the plan clearly reserves discretion for the plan administrator.

The plan provides that “YHP may adopt reasonable policies, procedures, rules

and interpretations to promote the orderly and efficient administration of the

policies and coverage plans described in this handbook.” [Dkt. #14, Def.’s Mem.,

Ex. A, p. 76]. Whether a visit may be characterized as an emergency or not is also

explicitly within YHP’s discretion as the plan provides that, “[i]f, in the judgment

of YHP, the illness or injury does not meet the plan definition of an emergency or

urgent condition, coverage will be denied.” [Id. at 63.]. The language of the plan



                                                                                    17
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 18 of 32




plainly permits YHP to adopt reasonable interpretations and use their judgment in

determining the outcome of particular claims. Accordingly the plan

unambiguously grants discretionary authority to the plan administrator to

determine eligibility. See Nichols, 406 F.3d at 108 (“in our judgment” is a phrase

clearly granting discretionary authority).

      Once it is clear that the administrator has discretionary authority, then the

standard of review shifts from de novo to an arbitrary and capricious standard of

review. Id.; see also McCauley v. First Unum Life Ins. Co., 551 F.3d 126, 131 (2d

Cir. 2008); Krauss, 517 F.3d at 622; Pastore v. Witco Corp. Severance Plan, 196

Fed. Appx. 18, 21 (2d. Cir. 2006); Brockett v. Reed, 78 Fed. Appx. 148, 150 (2d Cir.

2003); Fay v. Oxford Health Plan, 287 F.3d 96, 104 (2d Cir. 2002). A decision that

is arbitrary and capricious will not be upheld and is defined as “without reason,

not supported by substantial evidence or erroneous as a matter of law.” Kinstler,

181 F.3d at 249(citing Pagan v. NYNEX Pension Plan, 52 F.3d 438 (2d Cir. 1995)).

“Substantial evidence is ‘such evidence that a reasonable mind might accept as

adequate to support the conclusion reached by the [administrator and] ...

requires more than a scintilla but less than a preponderance.’” Celardo v. GNY

Auto. Dealers Health & Welfare Trust, 318 F.3d 142, 146 (2d Cir. 2003) (quoting

Miller v. United Welfare Fund, 72 F.3d 1066, 1072 (2d Cir. 1995)). “This scope of

review is narrow and the Court is not permitted to substitute its own judgment for

that of the decision maker.” Burgio v. Prudential Ins. Co. of America, Np.06-CV-

6793, 2011 WL 4532482, at *4 (E.D.N.Y. Sept. 26, 2011) (citing Pagan v. NYNEX




                                                                                    18
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 19 of 32




Pension Plan, 52 F.3d 438, 442 (2d Cir. 1995) and Jordan v. Ret. Comm. of

Rensselaer Polytechnic Inst., 46 F.3d 1264, 1271 (2d Cir. 1995)).

      In addition, courts have held that where a plan administrator both evaluates

and pays benefits claims out of its own pocket, the administrator has a conflict of

interest that must be taken into account in a court’s review under an arbitrary and

capricious standard. The conflict of interest analysis was articulated by the

Supreme Court in Glenn. Metropolitan Life Ins. Co. v. Glenn., 128 S.Ct. 2343, 2349

(2008) (ERISA “permits a person denied benefits under an employee benefit plan

to challenge that denial in federal court … Often the entity that administers the

plan, such as an employer or an insurance company, both determines whether an

employee is eligible for benefits and pays benefits out of its own pocket. We

here decide that this dual role creates a conflict of interest; that a reviewing court

should consider that conflict as a factor in determining whether the plan

administrator has abused its discretion in denying benefits; and that the

significance of the factor will depend upon the circumstances of the particular

case.”) (citations omitted).

      A plaintiff's showing that the administrator's conflict of interest affected the

choice of a reasonable interpretation is only one of “several different

considerations” that judges must take into account when “review[ing] the

lawfulness of benefit denials.” McCauley, 551 at 133. The Court must “determine

how heavily to weight the conflict of interest thus identified, considering such

circumstances as whether procedural safeguards are in place that abate the risk,

‘perhaps to the vanishing point.’” Durakovic v. Bldg. Serv. 32 BJ Pension Fund,



                                                                                    19
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 20 of 32




609 F.3d 133, 138 (2d Cir.2010) (citation omitted). The Second Circuit has further

instructed that:

     The weight properly accorded a Glenn conflict varies in direct proportion to
     the likelihood that [the conflict] affected the benefits decision. ‘The conflict
     ... should prove more important (perhaps of great importance) where
     circumstances suggest a higher likelihood that it affected the benefits
     decision, including, but not limited to, cases where an insurance company
     administrator has a history of biased claims administration. It should prove
     less important (perhaps to the vanishing point) where the administrator has
     taken active steps to reduce potential bias and to promote accuracy, for
     example, by walling off claims administrators from those interested in firm
     finances, or by imposing management checks that penalize inaccurate
     decisionmaking irrespective of whom the inaccuracy benefits.’
Durakovic, 609 F.3d at 139-140 (quoting Glenn, 128 S.Ct. at 2351).

      Analysis

      i.     Plaintiff’s breach of contract claims are pre-empted by ERISA

      Although Plaintiff alleges in her complaint that her cause of action arises

under ERISA, she also discusses her view that YHP has engaged in a breach of

contract throughout her complaint. For example, Plaintiff alleges that the

“second violation of procedure and breach of contract begins with Plaintiff’s

follow-up visit with Dr. D’Amico on August 5, 2008.” See [Dkt. #1, Compl. at p.3-

4]. Since Plaintiff is proceeding pro se, the Court must liberally construe her

complaint and submissions. See Triestman v. Fed. Bureau of Prisons, 470 F.3d

471, 475 (2d Cir. 2006) (“This policy of liberally construing pro se submissions is

driven by the understanding that implicit in the right of self-representation is an

obligation on the part of the court to make reasonable allowances to protect pro

se litigants from inadvertent forfeiture of important rights because of their lack of

legal training”) (internal quotation marks and citation omitted). Accordingly, the




                                                                                      20
          Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 21 of 32




Court construes Plaintiff’s complaint to also contain a state law breach a contract

claim.

         It is well established that all state law claims, such as breach of contract,

that relate to a plan regulated by ERISA are preempted. Pilot Life Ins. Co. v.

Dedeaux, 481 U.S. 41, 52-56 (1987) (examining structure and language of the

statute as well as legislative history to conclude that ERISA preempts state

claims); see also Aetna Health Inc. v. Davila, 542 U.S. 200, 200-01 (2004) (“Any

state-law cause of action that duplicates, supplements, or supplants the ERISA

civil enforcement remedy conflicts with the clear congressional intent to make the

ERISA remedy exclusive and is therefore pre-empted”); Paneccasio v. Unisource

Worldwide, Inc., 532 F.3d 101, 112 (2d Cir. 2008) (finding breach of contract,

among a variety of other claims to be preempted by ERISA); Devlin v. Transp.

Commc’n Int’l Union, 173 F.3d 94, 101 (2d Cir. 1999) (finding union contract

claims preempted); Kolasinski v. Cigna Healthplan of CT, Inc., 163 F.3d 148, 149

(2d Cir. 1998) (preempting breach of contract claims arising out of failure to pay

medical benefits); Kennedy v. Empire Blue Cross and Blue Shield, 989 F.3d 588,

591 (2d Cir. 1993); Smith v. Dunham-Bush, Inc., 959 F.2d 6, 10 (2d Cir. 1992)

(preempting breach of pension contract claims). Since Plaintiff’s breach of

contract claims directly relate to a plan covered by ERISA, such claims are pre-

empted by ERISA.

         ii.   The Court need not address Plaintiff’s claim that YHP violated the
               timing requirements under 29 C.F.R. 2560.503-1

         The Plaintiff claims that YHP violated the timing requirements under 29

C.F.R. 2560.503-1. Plaintiff devotes a significant portion of her brief in opposition

                                                                                         21
        Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 22 of 32




to Defendant’s motion for judgment on the administrative record arguing that

YHP did not return her repeated phone calls within 72 hours as is required in

connection with urgent care claims under 29 C.F.R. §2560.530-1(f)(2)(i) or within

15 days as is required in connection with pre-service claims under 29 C.F.R.

§2560.530-1(f)(iii).

       29 C.F.R. 2560.503-1 expressly provides that the remedy for a “failure of a

plan to establish or follow claims procedures consistent with the requirements of

this section” is that “a claimant shall be deemed to have exhausted the

administrative remedies available under the plan and shall be entitled to pursue

any available remedies under section 502(a) of the Act on the basis that the plan

has failed to provide a reasonable claims procedure that would yield a decision

on the merits of the claim.” 29 C.F.R. §2560.530-1(l). Under section 502(a) of the

Act, a participant or beneficiary is entitled to bring a civil action “to recover

benefits due to him under the terms of his plan, to enforce his rights under the

terms of the plan, or to clarify his rights to future benefits under the terms of the

plan” or for the relief provided in section 502(c). See 29 U.S.C. §1132.

       Section 502(c) provides that a court, in its discretion, may assess civil

penalties of up to $110 a day against plan administrators in connection with an

administrator’s refusal to supply requested information as required under certain

subsections of ERISA. See Board of Trustees of the CWA/ITU Negotiated Pension

Plan v. Weinstein, 107 F.3d 139, 140 (2d Cir. 1997) (the “court has discretion to

order administrator to pay penalty of $100 per day for each day, in excess of 30,

of failure to make a disclosure required by ERISA”) (citing 502(c), 29 U.S.C.



                                                                                     22
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 23 of 32




§1132(c)(1)). Section 502(c) does not refer to any regulations promulgated under

ERISA. Instead Section 502(c) appears to only provide penalties in connection

with a violation of a certain subsection of ERISA and does not extend to

regulations promulgated under ERISA.

      Although the Second Circuit has not addressed this issue, several other

circuits have held that the civil penalties provided under Section 502(c) apply only

to violations of a duty imposed by the statute and not a duty imposed by

regulations promulgated thereunder. See e.g., Wilcynski v. Lumbermens Mutual

Casaulty Co., 93 F.3d 397 (7th Cir. 1996) (holding that Section 502(c) penalties can

be assessed only for conduct that breaches an administrator's duty of disclosure

created by ERISA subchapter I and that “violations of regulations promulgated

thereunder will not suffice.”); Kollman v. Hewitt Assocs., LLC, 487 F.3d 139, 147

(3d Cir. 2007) (noting that the Third Circuit has previously “held that the

defendants' failure to provide information required by federal regulations did not

state a claim under ERISA § 502(c)(1)” and that “502(c) subjects plan

administrators to liability only for failure or refusal to release the information that

Subchapter 1 of ERISA” requires) (citing Groves v. Modified Ret. Plan, 803 F.2d

109, 111 (3d Cir. 1986)); see also Faircloth v. Lundy Packing Co., 91 F.3d 648, 659

(4th Cir. 1996) (holding that civil penalties are available for administrator “who fail

to furnish requested documents that are required to be furnished by § 104(b)(4)”).

      Moreover, several district courts in the Second Circuit have held that

Section 502(c) penalties do not apply to violations of agency regulations and in

particular have found that Section 502(c) penalties are not available for purported



                                                                                     23
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 24 of 32




violations of 29 C.F.R. §2560.530-1. See e.g., Anderson v. Sotheby’s Inc.

Severance Plan, No.04Civ.8180, 2005 WL 1309056, at *4 (S.D.N.Y. May 31, 2005)

(concluding that plaintiff was not entitled to sanctions for plan’s alleged failure to

produce requested documents under 29 C.F.R. §§2650.503-1 since “a violation of

ERISA's implementing regulations cannot support the imposition of sanctions

under section 1132 [Section 502(c)]”); Mohamed v. Sanofi-Aventis

Pharmacueticals, No.06CIV.1504, 2009 WL 4975260, at *21 (S.D.N.Y. Dec. 22, 2009)

(holding that plaintiff could not recover for plan’s alleged violations of 29 C.F.R.

§2560.530-1(h)(2)(iii), (m)(8) under Section 502(c)(1), 29 U.S.C. § 1132(c)(1)); Gill v.

Bausch & Lomb Supplemental Retirement Income Plan, No.09-CV-6043, 2009 WL

3164854, at *4-5 (W.D.N.Y. Sept. 28, 2009) (holding that Plaintiffs could not seek to

impose Section 502(c) penalties for violation of a regulation under 29 C.F.R.

§§2650.503-1). Therefore the Plaintiff would not be entitled to the imposition of

any civil penalties under Section 502(c) for YHP’s alleged violations of 29 C.F.R.

§2560.530-1.

      Accordingly, Plaintiff’s only remedy for YHP’s purported violations of 29

C.F.R. §2560.530-1 would be the ability to bring a civil action without having to

exhaust her administrative remedies to recover benefits due to her under the

terms of her plan or to enforce her rights under the terms of the plan. In effect,

the Plaintiff has already received this remedy as she has brought the pending

action to challenge YHP’s denial of her claims for the out-of-network services

provided by Dr. D’Amico. The issue of whether YHP violated or did not violate the

timing requirements under 29 C.F.R. 2560.503-1 is therefore moot since Plaintiff



                                                                                       24
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 25 of 32




has a pending civil action challenging the underlying benefits determination. The

Court would have no basis to grant Plaintiff any other relief or recovery upon the

Court finding that YHP violated 29 C.F.R. 2560.503-1. A violation of 29 C.F.R.

2560.503-1 does not entitle the Plaintiff to recover the relief she requests which is

the reimbursement of her medical bills in the amount of $47,513.

      Consequently, Plaintiff has in effect already received the remedy to which

she would be entitled upon a finding that YHP had violated the regulation.

Moreover, Plaintiff would not be entitled to any other recovery based on a finding

that YHP violated 29 C.F.R. 2560.503-1. For these reasons, the Court need not

address whether YHP violated the timing requirements of 29 C.F.R. 2560.503-1.

      iii.   YHP’s decision to deny Plaintiff’s claims for the out-of-network
             services provided by Dr. D’Amico was not arbitrary and capricious.

      Although Plaintiff’s opposition to Defendant’s motion for judgment on the

administrative record and her complaint are mainly focused on demonstrating

that YHP violated the timing requirements under 29 C.F.R. 2560.503-1, Plaintiff

appears to also argue that YHP’s denial of coverage was arbitrary and capricious

because YPH failed to give its reasons for the approval or denial of her claims.

See [Dkt.# 1, Compl.].

      The parties agree that all services received between May 31, 2008 and June

16, 2008 at both the Yale New Haven Hospital and New England Retina Associates

were covered by the Plan. [See Dkt. #14, Def.’s Mem., p. 3 and Dkt. #20 Pl.’s Mem.,

p. 6-7]. Furthermore, since YHP agreed on appeal to reimburse Plaintiff for her

claims for the June 17 and June 18, 2008 visits to Dr. D’Amico these claims are

not at issue. [Dkt. #14, Def.’s Mem., Ex. L]. In addition, it is unclear from the

                                                                                    25
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 26 of 32




record whether Plaintiff has exhausted her administrative remedies in connection

with her claims for the services provided on June 20, June 26, August 5,

September 10 and September 17, 2008 as there is no indication that Plaintiff

internally appealed the denial of her claims for those visits.

      Since Plaintiff has failed to demonstrate that she has exhausted her

administrative remedies in connection with her claims for the June 20, June 26,

August 5, September 10 and September 17, 2008 visits the Court does not have

jurisdiction to entertain those claims. “Courts within the Second Circuit have

long recognized ‘the firmly established federal policy’ requiring plaintiffs seeking

relief under section 502(a)(1)(B) to demonstrate that they have fully pursued the

claims procedures prescribed by the relevant employee benefit plan prior to

bringing suit.” Kirkendall v. Halliburton, Inc., No.07-CV-289-JTC, 2011 WL

2360058, at *4 (W.D.N.Y. June 9, 20110) (quoting Bernie Wolff Const. Corp., 788

F.2d 76. 79 (2d Cir. 1986)). “Adherence to the exhaustion requirement helps to

reduce the number of frivolous lawsuits under ERISA, promotes the consistent

treatment of claims for benefits, provides a non-adversarial method of claims

settlement, and minimizes the costs of claims settlement. Consistent with these

purposes, the federal courts regularly dismiss claims for judicial determination of

benefits under an ERISA-regulated plan where the plaintiff has failed to plead and

prove exhaustion of the plan's administrative remedies.” Id. (internal quotation

marks and citations omitted). Accordingly, since Plaintiff has failed to plead and

prove exhaustion of the plan’s administrative remedies for the services provided

by Dr. D’Amico on June 20, June 26, August 5, September 10 and September 17,



                                                                                    26
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 27 of 32




2008, the Court will only consider whether YHP’s denial of coverage for the

August 13, 2008 surgery was arbitrary and capricious.

      Under the clear and express terms of the plan, Plaintiff would only be

entitled to reimbursement for the services provided by an out-of-network

physician under two exceptions. First, where the care is for an emergency or

urgent condition and second, where the care has been arranged in advance by a

YHP clinician and approved by YHP’s Care Coordination Department. See [Dkt.

#14, Def.’s Mem., Ex. A]. Contrary to Halo’s contention, YHP did provide its

reasons for denying her coverage and informed Halo that it had denied coverage

because the services provided by Dr. D’Amico had not been pre-approved and

were not care for an emergency or urgent condition. YHP issued explanation of

benefits for each date of service explaining that the claim for payment was denied

because the services were not pre-approved as required for out-of-network care

which was neither emergent nor urgent. YHP also specifically explained to Halo

in its August 15, 2008 letter that it “[y]ou elected to leave the New Haven area and

requested coverage for a second opinion with a physician, Dr. D’Amico, in New

York. Coverage for non-emergency out of network care is not part of your health

care benefit with Yale Health Plan, but we routinely do allow coverage for

consultation only with an out-of-network clinician for the purposes of obtaining a

second opinion. Your request for such a consultation was approved. The

services provided by Dr. D’Amico went beyond consultation, resulting in charges

that were not covered by the original request.” [Dkt. #14, Def.’s Mem., Ex. J]

[emphasis in the original]. In addition, YHP also explained that it had “concluded



                                                                                  27
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 28 of 32




that the communication informing you that coverage for further visits and follow-

up surgery with Dr. D’Amico would be denied, based on the terms of your

coverage, was clear and explicit.” [Id.].

      YHP has therefore complied with the notice requirements under 29 C.F.R.

§§2560.530-1(g),(h),(j) to provide the specific reason or reasons for the adverse

determination. The “fundamental purpose of these procedural requirements is to

insure that when a claimant appeals a denial to the plan administrator, he will be

able to address the determinative issues and have a fair chance to present his

case.” Alternative Case Sys. v. Metropolitan Life Ins. Co., No.92Civ.7208(RPP),

1996 WL 67737, at *2-3 (S.D.N.Y. Feb. 16, 1996); see also Schnur v. CTC

Communications Corp. Group Disability Plan, 413 Fed. Appx. 377, 380 (2d Cir.

2011) (finding that plan’s notice complied 29 C.F.R. §2560.530-1(g) because the

“notice of denial—a thorough, four-and-a-half-page document—amply laid out the

basis for the denial, and, by implication, a description of those materials

necessary to perfect the claim. Specifically, that notice informed [plaintiff] that

‘we do not see any evidence in the current medical records to establish that your

condition imposes a physical or psychological impairment that would preclude

you from engaging in the substantial and material duties of your regular

occupation on a sustained basis.’”); Cook v. New York Times Co. Long-Term

Disability Plan, No.02Civ.9154(GEL), 2004 WL 203111, at *11 (S.D.N.Y. Jan. 30,

2004) (“The denial of plaintiff's first appeal was based on deficiencies in plaintiff's

submissions that had never been communicated to her in MetLife's initial letter,

and that she had never been given the opportunity to cure. A denial of an appeal



                                                                                      28
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 29 of 32




that is based on insufficient notice as to how the claim might be perfected fails to

meet the requirements of ERISA and its implementing regulations, and is

therefore unreasonable as a matter of law.”).

      Here, YHP has amply indicated that the basis for its denial of coverage was

that the services were not pre-approved or for emergency or urgent care. The

Student Handbook amply describes the coverage afforded by the plan, the

exclusions of coverage for out-of-network healthcare of a non-emergency and

non-exigent nature absent pre-approval. [Dkt. #14, Ex. A at p. 12, 40, 42, 44,59, 61-

63, 69 and 86]. YHP has therefore also by implication given Plaintiff a description

of how she could perfect or cure her claim and thereby enabled her to have a fair

chance to present her case on appeal. It is undisputed that YHP had not pre-

approved the August 13, 2008 surgery. Accordingly, YHP’s August 15, 2008 letter

put Plaintiff on notice that she could potentially cure her claim by presenting

evidence that the services provided were for emergency or urgent care. Since

YHP provided a sufficient explanation of its reasons for denying coverage,

Plaintiff was able to address the determinative issues on appeal and had a fair

chance to present her case. Accordingly, YHP’s denial of coverage was not

arbitrary and capricious.

      The Court also notes that the Plaintiff failed to address those determinative

issues on appeal and therefore failed to carry her burden to establish that she

was entitled to the benefit pursuant to the terms of the plan. See Juliano v. Health

Maintenance Organization of New Jersey, Inc., 221 F.3d 279, 287-88 (2d Cir. 2000)

(Plaintiffs “were required to prove their case; to establish that they were entitled



                                                                                   29
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 30 of 32




to that benefit pursuant to the terms of the Contract or applicable federal law);

Farley v. Benefit Trust Life Ins. Co., 979 F.2d 653, 658-59 (8th Cir. 1992) (burden of

proof is on ERISA plaintiff to establish medically necessity where it is

prerequisite for entitlement to benefit). On appeal, Plaintiff simply submitted her

own letters which were replete with her lay medical conclusions and contained no

factual content to support a conclusion that the services were for emergency or

urgent care. In Plaintiff’s September 8, 2008 appeal letter, she states that in her

opinion the August 13 surgery was “medically necessary: the surgery entailed

removal of the lens because of a cataract that had rapidly developed from the

perfluoropropane gas, removal of that gas, which still occupied between 33-50%

of the volume of her eye after 8 weeks of recovery performed by Dr. Liggett, laser

therapy to reattach the retina, and installation of a silicone oil bubble to stabilize

recovery.” Dkt. #14, Def.’s Mem., Ex. K].

      Plaintiff did not provide YHP with any quantifiable medical documentation

establishing that the services were care for an emergency or urgent condition.

For example, Plaintiff did not submit a letter or other documentation from Dr.

D’Amico expressing his medical opinion that the care provided was for an

emergency or urgent condition. In fact, the Court has reviewed all of the medical

records that Plaintiff has submitted into the record and there is no mention or

indication in any of these records that Dr. D’Amico provided Halo with care for an

emergency or urgent condition. The medical records describe the majority of the

services provided by Dr. D’Amico as “follow up visit” and expressly note that

Halo had transferred her care to Dr. D’Amico because she is moving to her



                                                                                      30
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 31 of 32




parents place in NJ. See [Dkt. #20, Ex. B]. There is simply no evidence in

Plaintiff’s medical records that she was being provided with care by Dr. D’Amico

for an emergency or urgent condition. In fact, the medical records indicate that

Halo had transferred her entire care to Dr. D’Amico and thereby had elected to

stop seeking treatment with an in-network physician.

      On appeal, Plaintiff failed to present any factual basis beyond her own lay

opinion that would support the conclusion that YHP’s determination that the care

provided by Dr. D’Amico was not for an emergency or urgent condition was

arbitrary and capricious. Accordingly, YHP’s continued denial of coverage based

on its conclusion that the services were not pre-authorized or for emergency or

urgent care is supported by substantial evidence. A reasonable mind would

accept the evidence in the record as adequate to support the conclusion reached

by YHP that the services provided by Dr. D’Amico were not care for an emergency

or urgent condition and were not pre-authorized.

      Lastly, it is unclear from the record whether YHP both evaluates and pays

benefits claims out of its own pocket. Assuming that it does, there is no evidence

that YHP’s denial of coverage was in any way influenced by a conflict of interest.

      Conclusion

      Based upon the above reasoning, the Court GRANTS Defendant’s [Dkt.

#14] motion for judgment on the administrative record. The Clerk is directed to

enter judgment in favor of Defendant and close the file.




                                                                                  31
       Case 3:10-cv-01949-VLB Document 27 Filed 03/08/12 Page 32 of 32




                                           IT IS SO ORDERED.

                                           ________/s/_________
                                           Hon. Vanessa L. Bryant
                                           United States District Judge


Dated at Hartford, Connecticut: March 8, 2012




                                                                          32
